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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
V. : NO. 3:19-CR-9
BRUCE EVANS, SR. and $ JUDGE A. RICHARD CAPUTO

BRUCE EVANS, JR.
ORAL ARGUMENT REQUESTED

 

DEFENDANTS BRUCE EVANS, SR.’S REPLY BRIEF IN SUPPORT
OF MOTION TO AUTHORIZE SUBPOENA DUCES TECUM

 

Defendant Bruce Evans, Sr. (“Mr. Evans”) requested, in his Motion to
Authorize Subpoena Duces Tecum, that Court properly issue and serve subpoenas
on the following entities: (1) the Pennsylvania Department of Environmental
Protection (““PADEP”); (2) Greenfield Township Sewer Authority (“GTSA”); (3)
AT&T; and (4) American Express. The Government opposes issuance of these
subpoenas. However, because the subpoenas request relevant information, will
produce admissible evidence, and the subpoenas are sufficiently specific in
accordance with United States v. Nixon, 418 U.S. 683, 700 (1974), Mr. Evans’

motion seeking Court authorization should be granted.
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Subpoena #1 for the Pennsylvania Department of Environmental Protection

Mr. Evans’ proposed subpoena to the PADEP satisfies the test outlined in
United States v. Nixon, 418 U.S. 683, 700 (1974) (“[T]he Special Prosecutor, in
order to carry his burden, must clear three hurdles: (1) relevancy; (2) admissibility;

(3) specificity.”).

First, the PADEP records would (pursuant to Federal Rule of Evidence 401)
“have a tendency to make the existence of [a] fact of consequence to the
determination of the action more probable [ ] than it would without the
evidence.” One of Mr. Evans’ planned defenses is actual innocence, i.e. he did not
know of the alleged operational failures as simply manager of the GTSA. Indeed,
it is anticipated that records received from the PADEP would show that all
environmental testing was handled by licensed wastewater treatment plant operator
David D. Klepadlo, not Evans. The records would likely also show that the
PADEP held Mr. Klepadlo responsible for adherence to, and knowledge of, the

permit, not Evans.

Moreover, and pursuant to the Notice of Authority under Fed. R. Crim. P.
12.3, the records sought will likely support a defense of detrimental reliance, actual

and apparent authority on government authority and entrapment by estoppel.

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Specifically, the records received will likely indicate that the government caused
the GTSA to believe it was operating properly and the GTSA detrimentally relied
upon the DEP to believe it was operating properly. PADEP records will likely
show that it was not until the prosecutorial authorities became involved that
PADEP began to claim the GTSA was not operating properly or legally. Pursuant
to Federal Rules of Evidence 801(d)(2)(A), 803(6), and 801(d)(2)(D), and in
accordance with the second prong of the Nixon test, information received would be
admissible as statements by a party opponent, business records, and/or statements

by agents.

Finally, the request in this subpoena is specific to Bruce Evans, Sr. and/or
the operation of the GTSA sewage treatment plant. While the Government
contests the breadth of this request, the information sought in this subpoena is

nevertheless tethered to the specific defenses outlined above.
Subpoena #2 for the Greenfield Township Sewer Authority

Mr. Evans’ proposed subpoena to the GTSA similarly satisfies the test

outlined in United States v. Nixon.

First, the information sought is again relevant to both of Mr. Evans’

defenses. It is anticipated that internal documents of the GTSA will illuminate

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both Mr. Evans’ role as manager and how that role differed from the certified
operator of the GTSA plant. Further, the records will also reveal an internal audit
in which Board members were interviewed and provided exculpatory statements,
as well as impeaching evidence related to the allegations of fraud made against Mr.
Evans. In this way, the records sought are relevant to defend against both the

environmental crimes and the false claims of fraud lodged against Mr. Evans.

These documents would, in turn, be admissible pursuant to Federal Rules of
Evidence 803(6), 801(d)(1)(A-C), and 806 as they are business records, could be
used as a declarant’s prior statement, and/or to attack their credibility. Finally, and
like the subpoena directed to PADEP, the request in this subpoena is specific to
Bruce Evans, Sr. and/or the operation of the GTSA sewage treatment plant. While
the Government on this point contends that this subpoena should not be granted
because it is undisputed that Mr. Evans was not certified as a wastewater operator,
it is clear from their theory of the case that the parties nevertheless differ on Mr.
Evans’ role in the daily management of the plant. The information sought from the

GTSA is both relevant and specific to that dispute.
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Subpoena #3-4 for AT&T and American Express

Mr. Evans’ subpoenas to American Express and AT&T seek information

relating solely to Counts 6-13, or the wire fraud under 18 U.S.C. § 1343.

First, the records sought are relevant to defending against those fraud-based
claims. For example, at Counts 6 and 7, the Government charges Mr. Evans with
fraudulently charging the GTSA for the payment of an $88.85 and a $90.85
telephone bill. Obtaining the records sought in the subpoena, including billing
records, is critical to both disproving both Counts 6 and 7, and establishing that
Mr. Evans did not serve as operator for the GTSA plant. In a similar vein, the
records sought from American Express are relevant towards disproving the wire
fraud claims at Counts 6-13. In those counts, Government alleges that Mr. Evans
defrauded the GTSA by making purchases related to the GTSA plant. Finally, and
in compliance with the Nixon test, the records sought are both admissible and
specific. They are admissible as business records pursuant to Federal Rule of

Evidence 803(6), and specific as to the claims and accounts relevant to this case.
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WHEREFORE, the Defendant respectfully requests that its Motion to

Authorize Subpoena Duces Tecum be granted.

Respectfully submitted,

/s/ Patrick A. Casey
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Date: January 15, 2020
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CERTIFICATE OF SERVICE

I, Patrick A. Casey, hereby certify that a true and correct copy of the
foregoing Reply Brief In Support of Motion to Authorize Subpoena Duces Tecum
was served upon the following counsel of record via the Court’s ECF system on
this 15th day of January 2020.

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